         Case 09-03004      Doc 20     Filed 04/29/19 Entered 04/29/19 08:09:11            Desc Order
                                       Reopening Case Page 1 of 1
                        UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF IOWA
                                                                CHAPTER 7
In Re:                                                          Bankruptcy No.

Sue A. Biddle                                                   09−03004

Debtor(s)


                                      ORDER REOPENING CASE



A Motion to Reopen having been filed on April 26, 2019 and the fee having been deferred;

IT IS THEREFORE ORDERED this Chapter 7 case is reopened.




ORDERED April 29, 2019




                                                         Thad J. Collins
                                                         Bankruptcy Judge
